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                    SCHEDULING ORDER WORKSHEET

 DEADLINES & COURT APPEARANCES

 _______________ : Exchange of Rule 26(a)(1) disclosures

 ________________: Service of first interrogatories and document demands

                     : Responses to first interrogatories and document demands

 ________________: Motions to join new parties or amend the pleadings

  TBD by Court: Status conference in courtroom 820

 ________________: Completion of depositions

 ________________: Identification of case-in-chief experts and service of Rule 26 disclosures

 ________________: Identification of rebuttal experts and service of Rule 26 disclosures

 ________________: Commencement of summary judgment motion practice.

  TBD by Court:       Pretrial conference in courtroom 820
